Filed 8/21/24 Lara v. Dreyer’s Grand Ice Cream CA1/5

       NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on
opinions not certified for publication or ordered published, except as specified by rule
8.1115(b). This opinion has not been certified for publication or ordered published for
purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         FIRST APPELLATE DISTRICT

                                    DIVISION FIVE

 MARIO LARA,
          Plaintiff and Respondent,
                                                                  A167881
 v.
 DREYER’S GRAND ICE CREAM,                                        (Alameda County
 Inc., et al.,                                                    Super. Ct. No. 22CV024868)
          Defendants and Appellants.

       Respondent Mario Lara brought this action under the
Labor Code Private Attorneys General Act of 2004 (Lab. Code, §
2698 et seq.; “Private Attorneys General Act” or “the Act”),
alleging his employers, manufacturers and retailers of ice cream,
violated California’s wage and hour laws and other provisions of
the Labor Code. Lara raises claims in his individual capacity,
seeking remedies for violations committed against himself, as
well as in a representative capacity, as an agent for the State of
California seeking to enforce the rights of other employees. After
Lara’s employers, appellants Dreyer’s Grand Ice Cream, Inc.,
Dreyer’s Grand Ice Cream Holdings, Inc., and Froneri US, Inc.
(collectively “Dreyer’s”), moved for an order compelling
arbitration of Lara’s individual claims and a stay of the entire
action pending litigation, the trial court ordered arbitration but
denied a stay of the remaining claims, which were nonarbitrable.
Dreyer’s now seeks to appeal from the order denying the stay,
arguing that a stay of nonarbitrable claims pending arbitration is
mandatory as a matter of law.

      Although the denial of a stay pending arbitration is a
nonappealable interlocutory order, we exercise our discretion to
treat Dreyer’s appeal as a petition for an extraordinary writ. On
the merits, we disagree that a stay is mandatory in these
circumstances, but we remand the case to allow the trial court an
opportunity, in light of intervening case law, to exercise its
discretion whether to stay Lara’s nonarbitrable claims under
Code of Civil Procedure section 1281.4.1

                           BACKGROUND

                                  A.

       Prior to the Private Attorneys General Act, the Labor Code
was poorly enforced, largely due to ineffective remedies and
limited enforcement capacity. (Adolph v. Uber Technologies, Inc.
(2023) 14 Cal.5th 1104, 1116 (Adolph).) To address the problem,
the Act established new civil penalties and authorized aggrieved
employees to recover penalties, acting as private attorneys
general on behalf of the state. (Ibid.; see Lab. Code, § 2699.) An
employee who sues under the Act functions as an agent of the
state—the real party in interest—and may seek any civil
penalties that the state can seek. (Adolph, at pp. 1116-1117.)
When employees recover penalties, the state receives most of the
recovery. (Id., at p. 1116; see also Lab. Code, § 2699, former subd.
(i).)2


      1 Undesignated statutory references are to the Code of Civil

Procedure.
       2 The Legislature recently passed amendments to the Act

that took effect July 1, 2024, and generally apply to actions filed
on or after June 19, 2024. (See Lab. Code, § 2699, subds. (v)(1)-
(2); Stats. 2024, ch. 44, § 1 [enacting Assembly Bill No. 2288,
effective Jul. 1, 2024]; id., ch. 45, § 1 [enacting Senate Bill No. 92,
       As relevant here, to have standing to bring an action as an
“aggrieved employee” under the Act, the plaintiff must have been
employed by the employer and suffered at least one Labor Code
violation by the employer. (See Adolph, supra, 14 Cal.5th at pp.
1116, 1120-1121; Lab. Code, § 2699, former subd. (c).)
Accordingly, so long as the plaintiff has standing based on one
Labor Code violation, the plaintiff, as an agent of the state, may
also prosecute Labor Code violations sustained by other
employees of the same employer but not personally sustained by
the plaintiff. (See Adolph, at p. 1122; see also Estrada v. Royalty
Carpet Mills, Inc. (2024) 15 Cal.5th 582, 599 (Estrada).) We will
refer to a plaintiff’s personal claims under the Act as individual
claims and a plaintiff’s representative claims on behalf of other
employees as non-individual claims. (See Adolph, at pp. 1117-
1118; Viking River Cruises, Inc. v. Moriana (2022) 596 U.S. 639,
648-649 (Viking River).)

                                B.

      This case concerns the question what should happen to
Lara’s non-individual claims given that his individual claims
have been sent to arbitration. As background, we briefly discuss
a triad of arbitration cases concerning the interaction between
federal and state law in the context of claims under the Act.

      In Iskanian v. CLS Transportation Los Angeles, LLC (2014)
59 Cal.4th 348 (Iskanian), overruled on other grounds by Quach
v. California Com. Club, Inc. (2024) ___ Cal.App.5th ___ [551
P.3d 1123], our Supreme Court considered an agreement that, in
the course of providing for arbitration of an employee’s individual
claims, purported to categorically waive an employee’s ability to
bring non-individual claims under the Act. Iskanian held the
waiver unenforceable because it violated public policy and


effective Jul. 1, 2024].) This opinion addresses the former version
of the Act, applicable to the action in this case.
undermined the Act. (Id. at p. 384; see also Adolph, supra, 14
Cal.5th at pp. 1117-1118 (discussing Iskanian).) After Iskanian,
several Courts of Appeal held that individual and non-individual
claims under the Act could not be split into bifurcated
proceedings. (See Adolph, at p. 1118 (citing cases).)

      In Viking River, the United States Supreme Court held
that a rule against bifurcated proceedings for individual and non-
individual claims under the Act frustrates the Federal
Arbitration Act by defeating the parties’ ability to contractually
determine which claims are subject to arbitration and which are
not. (Viking River, supra, 596 U.S. at pp. 660-662; see also
Adolph, supra, 14 Cal.5th at pp. 1118-1119 (discussing Viking
River).) As a result, Viking River concluded, the Federal
Arbitration Act preempts the rule of Iskanian to the extent it
prevents enforcement of an agreement to arbitrate individual
claims under the Act. (Viking River, at pp. 660-662.) Viking
River also held that the Act does not allow a plaintiff whose
individual claims have been sent to arbitration to maintain a suit
in court based only on non-individual claims. (Id. at pp. 662-663.)
Instead, Viking River held, a plaintiff whose individual claims
have been sent to arbitration no longer has standing under the
Act to advance non-individual claims in court, and the non-
individual claims must therefore be dismissed. (Ibid.) Viking
River did not disturb Iskanian’s determination that wholesale
waivers of claims under the Act are invalid. (See id. at p. 662.)

      Adolph subsequently considered the standing question—a
matter of state law—addressed in Viking River and reached the
opposite conclusion. Our Supreme Court held that once a court
has ordered arbitration of an employee’s individual claims under
the Act, the employee retains standing to pursue non-individual
claims in court. (Adolph, supra, 14 Cal.5th at pp. 1119-1123.)
Adolph explained that a plaintiff’s allegations that the employer
committed Labor Code violations against him suffice to confer
standing to bring an action under the Act, and the arbitration of
the plaintiff’s individual claim does not undermine that standing.
(Id. at p. 1121.) As a result, Adolph rejected the employer’s
argument that the plaintiff’s non-individual claims had to be
dismissed once the trial court ordered arbitration of the
individual claims. (Id. at pp. 1123-1124.)

                                C.

      Lara is an hourly employee at a Dreyer’s facility in
Bakersfield, where he earns $24 per hour as a machine operator.
In his operative complaint, he asserted Private Attorneys
General Act claims alleging that Dreyer’s violated numerous
Labor Code provisions. He asserted these claims “on [b]ehalf of
the State of California and [a]ggrieved [e]mployees.” Lara also
separately raised individual and class-based claims under the
Labor Code as well as a class-based unfair competition claim
under Business and Professions Code section 17200, et seq.

       In the trial court, Dreyer’s filed a motion to compel
arbitration of Lara’s individual claims under the Act as well as
his personal Labor Code claims. Dreyer’s relied on a pre-dispute
arbitration agreement entered into by both parties applicable to
any “ ‘Dispute’ ” between “You . . . and the Company . . . that
arises out of, relates in any manner to, or has any relationship
whatsoever with . . . Your seeking employment and/or . . . Your
employment with the Company[.]” The agreement also contained
a clause specifying that if a “Dispute” involves arbitrable and
nonarbitrable claims, “the Parties agree that the Arbitrable
Claims will be resolved first in arbitration, and the non-
arbitrable court claims will be severed and stayed for all purposes
pending completion of arbitration.”

      Based on the arbitration agreement, Dreyer’s sought an
order compelling arbitration of Lara’s individual claims under the
Act and dismissal, without prejudice, of Lara’s non-individual
claims as well as his class-based claims; in the alternative,
Dreyer’s sought to stay the non-individual claims. Lara
stipulated to a stay of his individual claims and class claims
pending arbitration, but he opposed the request to dismiss or stay
the non-individual claims.

       In May 2023, about two months before our Supreme Court
issued its opinion in Adolph, the trial court granted the motion to
compel arbitration of the individual claims and dismissed the
class claims. The court denied the request to dismiss or stay
Lara’s non-individual claims. The court reasoned that
notwithstanding Viking River, Lara’s non-individual claims may
proceed in court. Further, the court rejected Dreyer’s argument
that the arbitration agreement required a stay of the
nonarbitrable claims pending arbitration, explaining that the
“agreement only applies to plaintiff’s own claims arising out of
his employment, and not claims of the state in a [Private
Attorneys General Act] representative action.”

                           DISCUSSION

                                 A.

       Our threshold question is whether Dreyer’s challenge to the
trial court’s interlocutory order denying a stay of the non-
individual action is appealable. The right to appeal a trial court
order exists when authorized by statute. (Griset v. Fair Political
Practices Com. (2001) 25 Cal.4th 688, 696.) We conclude that the
stay order is not appealable, but we exercise our discretion to
treat Dreyer’s appeal as a petition for writ of mandate.

                                 1.

      Section 1294 specifies the types of orders appealable in
arbitration cases, including the dismissal or denial of a petition to
compel arbitration (§ 1294, subd. (a)); specified orders following
the issuance of an arbitration award (id., subds. (b)-(c)); and a
judgment and related orders (id., subds. (d)-(e)). Nothing in
section 1294 addresses review of the stay order at issue here.
(See J.H. Boyd Enterprises, Inc. v. Boyd (2019) 39 Cal.App.5th
802, 811 (Boyd); Berman v. Renart Sportswear Corp. (1963) 222
Cal.App.2d 385, 388 (Berman).)

       Dreyer’s contends that the denial of the stay is appealable
under section 1294, subdivision (a)—which provides for review of
an order dismissing or denying an arbitration request—because
it was a determination that a portion of the arbitration
agreement was unenforceable. In effect, Dreyer’s argues, the
trial court refused to enforce the portion of the arbitration
agreement providing that, should the court order arbitration of
the individual claims, the remaining claims should be “severed
and stayed.” Dreyer’s argument is that the trial court’s refusal to
enforce the “sever and stay” clause of the arbitration agreement
is appealable under section 1294, subdivision (a) because it is the
functional equivalent of an order denying arbitration.

      Dreyer’s cites MKJA, Inc. v. 123 Fit Franchising, LLC
(2011) 191 Cal.App.4th 643, 655 (MKJA), but that case is
unavailing. MKJA involved an arbitration agreement that
resulted in an arbitration requiring fees the plaintiffs were
unable to afford. (Id. at p. 652.) The trial court in MKJA
determined that the arbitration agreement was unenforceable or
unconscionable and lifted a stay of the litigation. (Id. at pp. 652-
653.) MKJA reasoned that the trial court’s ruling was
functionally equivalent to an order denying arbitration because it
forced the defendants to litigate the claims they sought to
arbitrate, so the ruling was appealable under section 1294,
subdivision (a). (MKJA, at p. 655.) In contrast, here, the trial
court issued an order compelling arbitration and the parties
stipulated to a stay of the arbitrable claims. Under these
circumstances, the trial court’s refusal to stay the nonarbitrable
claims was not the functional equivalent of an order denying
arbitration. (See Gastelum v. Remax Internat., Inc. (2016) 244
Cal.App.4th 1016, 1023.) The stay denial is not an appealable
order under section 1294, subdivision (a). (See Boyd, supra, 39
Cal.App.5th at p. 811; Berman, supra, 222 Cal.App.2d at p. 388.)

      Nor does section 1294.2 authorize Dreyer’s appeal from the
stay order. That provision authorizes ancillary appellate
jurisdiction over orders that affect arbitration orders appealable
under section 1294. (Boyd, supra, 39 Cal.App.5th at p. 811.) For
the court to exercise such jurisdiction, the ancillary order must be
related to an order that has been appealed under section 1294.
(See § 1294.2; Boyd, at p. 813.) Section 1294.2 provides that
“[u]pon an appeal from any order or judgment under this title,
the court may review the decision and any intermediate ruling,
proceeding, order or decision which involves the merits or
necessarily affects the order or judgment appealed from, or which
substantially affects the rights of a party.”

      Thus, in an appeal from an order denying a petition to
compel arbitration—an appealable order under section 1294,
subdivision (a)—the appellate court may exercise ancillary
jurisdiction to review the trial court’s related denial of a request
to stay its proceedings pending arbitration. (See Boyd, supra, 39
Cal.App.5th at p. 811; MKJA, supra, 191 Cal.App.4th at p. 655;
Berman, supra, 222 Cal.App.2d at p. 388.) But here the order
denying a stay is the only order from which Dreyer’s seeks to
appeal. Section 1294 does not authorize appeal from the trial
court’s order compelling arbitration (see § 1294; Jarboe v. Hanlees
Auto Group (2020) 53 Cal.App.5th 539, 558 (Jarboe)), and there is
no other appealable order or judgment to which ancillary
jurisdiction under section 1294.2 may attach.

                                 2.

       Although Dreyer’s cannot appeal the denial of its stay
request, we will exercise our discretion to treat the appeal as a
petition for an extraordinary writ. (See Olson v. Cory (1983) 35
Cal.3d 390, 400-401.)
      We agree with Dreyer’s that the question whether and to
what extent the trial court has discretion to decline to stay a non-
individual claim under the Act pending arbitration of an
individual claim is one that will benefit from immediate review.
The issue concerns a matter of public importance, as it bears on
private parties’ ability to timely challenge, in a representative
capacity, employers’ potential violations of law under the Act.
(Baeza v. Superior Court (2011) 201 Cal.App.4th 1214, 1221-
1222.)3

      We therefore proceed to the merits of Dreyer’s challenge.

                                 B.

      Dreyer’s argues that the trial court erred in denying its
request for a stay of the nonarbitrable claims. We generally
review a trial court’s decision whether to issue a stay of litigation
pending arbitration for abuse of discretion. (See Jarboe, supra,
53 Cal.App.5th at p. 547; Leenay v. Superior Court (2022) 81
Cal.App.5th 553, 562 (Leenay).) To the extent the decision
involves a question of law, our review is de novo. (Leenay, at p.
562.)

                                 1.

                     Sever and Stay Clause

      Dreyer’s contends that the arbitration agreement requires
the non-individual claims to be stayed pending arbitration of the
individual claims. We apply principles of California contract law


      3 The interest in this issue may be substantially less in

view of amendments to the Act that narrowed the standing
provisions while this appeal was pending. (See Lab. Code, §
2699, subd. (c)(1), as amended by Stats. 2024, ch. 44, § 1; see also
fn. 2, ante.) Nevertheless, writ review is also proper because of
the unusual circumstances and the fact that the question would
be effectively unreviewable. (See Baeza v. Superior Court, supra,201 Cal.App.4th at p. 1221.)
to interpret the agreement and give the words in the contract
their ordinary meaning. (See Vaughn v. Tesla, Inc. (2023) 87
Cal.App.5th 208, 219.)

      Dreyer’s relies on language in the arbitration agreement
providing that: “[i]f it is determined that a Dispute involves some
claims that are arbitrable and other claims that are not
arbitrable (i.e. claims that must be brought in court), the Parties
agree that the Arbitrable Claims will be resolved first in
arbitration, and the non-arbitrable court claims will be severed
and stayed for all purposes pending completion of arbitration.”

      Lara asserts, however, that the trial court correctly held
that this “sever and stay” provision of the arbitration agreement
does not apply to his non-individual PAGA claims because such
claims do not involve a dispute between Lara and his employer
arising out of his employment. We agree.

       As the trial court noted, language in the agreement
specifies that a “Dispute” is: “any claim, count, complaint,
grievance, cause of action, and/or controversy of any nature . . .
between You (and Your heirs, successors, and assigns) and the
Company (and its owners, officers, directors, employees, agents,
successors, parents, subsidiaries, affiliates and assigns) that
arises out of, relates in any manner to, or has any relationship
whatsoever with, (1) Your seeking employment and/or (2) Your
employment with the Company (including the termination of
Your employment) that each Party may have against the other,
including, but not limited to, any Dispute arising out of, or
related to, this Agreement, whether arising under any local,
state, federal or international law, whether arising in part, by
contract, or under the common law, whether arising by statute,
regulation, ordinance or any other law of any kind or type[.]”

      Applying this understanding of a “Dispute” here, Lara’s
non-individual claims relate to neither his application for
employment nor his employment with the company.
       As discussed, the Private Attorneys General Act authorizes
employees to bring “individual claims,” which seek a remedy for
violations sustained personally by the plaintiff employee. (See
Adolph, supra, 14 Cal.5th at p. 1114; Viking River, supra, 596
U.S. at p. 648; Nickson v. Shemran, Inc. (2023) 90 Cal.App.5th
121, 127; Piplack v. In-N-Out Burgers (2023) 88 Cal.App.5th
1281, 1287.) Lara’s individual claims arise out of his
employment, as they could not have been brought had he not
been employed by Dreyer’s, and so are subject to arbitration
pursuant to the trial court’s order. (See Galarsa v. Dolgen
California, LLC (2023) 88 Cal.App.5th 639, 648-649, 655
(Galarsa).) In contrast, as Adolph held, “non-individual ‘[Private
Attorneys General Act] claims aris[e] out of events involving
other employees.’ ” (Adolph, at p. 1119, quoting Viking River, at
pp. 648-649.) Indeed, as Dreyer’s opening brief acknowledges,
non-individual claims under the Act are “assert[ed] on behalf of
other employees.” Lara’s employment is not a but-for cause of the
non-individual claims because those claims exist independently
from that employment. If Lara were unable to continue
prosecuting the state’s claims against Dreyer’s, for example,
another aggrieved employee could be substituted in his place.
(See, e.g., Hutcheson v. Superior Court (2022) 74 Cal.App.5th 932,
941 (Hutcheson).)

      Dreyer’s points to language in Viking River holding that,
for purposes of determining whether an arbitration agreement is
covered by the Federal Arbitration Act, Private Attorneys
General Act claims arise out of the employer and the employee’s
contractual relationship. (See Viking River, supra, 596 U.S. at p.
652, fn. 4; see also Barrera v. Apple American Group LLC (2023)
95 Cal.App.5th 63, 85 (Barrera).) Dreyer’s contends that “Viking
River expressly rejected Iskanian’s view of” claims under the Act
as involving only the State of California and the employer, rather
than the plaintiff employee and the employer. But Viking River
elsewhere defines non-individual claims under the Act as “arising
out of events involving other employees.” (Viking River, at pp.
648-649.) And Viking River confirms that non-individual claims
“involve the rights of only the absent real party in interest [i.e.,
the State of California] and the defendant.” (See id. at p. 658.)
Relying on Viking River, Adolph re-affirms that a non-individual
claim arises out of the employment of other employees. (Adolph,
supra, 14 Cal.5th at p. 1119, citing Viking River, at pp. 648-649.)
And more recently, our Supreme Court reiterated that Private
Attorneys General Act “actions do not adjudicate individually
held claims.” (Estrada, supra, 15 Cal.5th at p. 599.)

      Subsequent to Viking River, Galarsa considered language
in an arbitration agreement referring to disputes “arising out of
the employee’s employment,” holding that it did not cover non-
individual claims under the Act because such claims “arise out of
other employee’s employment.” (Galarsa, supra, 88 Cal.App.5th
at pp. 650-651.)

       We agree with Galarsa’s analysis. Because Lara’s non-
individual claims seek to enforce the rights of other Dreyer’s
employees, the claims do not arise out of or relate to Lara’s
employment (see Galarsa, supra, 88 Cal.App.5th at pp. 650-651;
Viking River, supra, 596 U.S. at pp. 648-649; Adolph, supra, 14
Cal.5th at p. 1119), and therefore are not a “Dispute” for purposes
of the “sever and stay clause” of the arbitration agreement.
Accordingly, the trial court correctly concluded that the sever and
stay clause does not apply to Lara’s non-individual claims under
the Act.

                                 2.

                  The Federal Arbitration Act

      Dreyer’s next contends that the Federal Arbitration Act
mandates a stay of Lara’s non-individual claims pending the
arbitration of his other claims. Not so.
       Dreyer’s relies on 9 U.S.C. § 3, which provides that: “[i]f
any suit or proceeding be brought in any of the courts of the
United States upon any issue referable to arbitration under an
agreement in writing for such arbitration, the court in which
such suit is pending, upon being satisfied that the issue involved
in such suit or proceeding is referable to arbitration under such
an agreement, shall on application of one of the parties stay the
trial of the action until such arbitration has been had[.]”

       By its own terms, 9 U.S.C. § 3 is directed not to state courts
but to “ ‘the courts of the United States.’ ” (See Cronus
Investments Inc. v. Concierge Services (2005) 35 Cal.4th 376, 389
(Cronus); Rosenthal v. Great Western Fin. Securities Corp. (1996)
14 Cal.4th 394, 407-408; Volt Info. Scis., Inc. v. Bd. of Trustees of
Leland Stanford Junior Univ. (1989) 489 U.S. 468, 477, fn. 6
(Volt).) As a result, the Federal Arbitration Act’s procedural
rules are not binding on state courts so long as state procedures
do not undermine the rights granted by the federal law. (Cronus,
at p. 390; see also Volt, at p. 477, fn. 6; Southland Corp. v.
Keating (1984) 465 U.S. 1, 16, fn. 10.) Thus, in cases brought in
California courts to compel arbitration, the default rule is that
state procedural rules apply. (Cronus, at p. 390; Keeton v. Tesla,
Inc. (2024) 103 Cal.App.5th 26, 37-38 (Keeton); Valencia v. Smyth
(2010) 185 Cal.App.4th 153, 174 (Valencia).) Although the
parties to an arbitration agreement are free to contract around
the default, the question whether litigation should be stayed
pending arbitration is a procedural one that is ordinarily subject
to California rules. (See Valencia, at p. 174.)

       In its reply brief, Dreyer’s argues for the first time that the
arbitration agreement contained choice-of-law language evincing
the parties’ intent that the Federal Arbitration Act’s procedural
rules control. Because Dreyer’s presented this argument neither
in trial court nor in its opening brief on appeal, we will not
consider it here. (See Long v. Forty Niners Football Co., LLC
(2019) 33 Cal.App.5th 550, 557; Nakai v. Friendship House Assn.
of American Indians, Inc (2017) 15 Cal.App.5th 32, 44, fn. 6
(Nakai).)

       Dreyer’s also contends that federal preemption principles
require a stay of Lara’s non-individual claims. Dreyer’s did not
present this argument to the trial court either, so the court did
not have an opportunity to pass on it. (See Nakai, supra, 15
Cal.App.5th at p. 44, fn. 6.) Further, Dreyer’s fails to articulate
whether it is asserting a theory of express preemption, field
preemption, or conflict preemption, each of which is subject to
different legal standards and none of which are discussed in
Dreyer’s briefing. (See, e.g. Keeton, supra, 103 Cal.App.5th at p.
34 (discussing the different federal preemption doctrines).) Nor
does Dreyer’s identify what state law it believes is preempted by
the Federal Arbitration Act. To the contrary, Dreyer’s
affirmatively argues that “California law is consistent with the
[Federal Arbitration Act] on the issue of the stay.” Because
Dreyer’s asserted this theory for the first time on appeal and
failed to support it with reasoned argument and authority, it has
forfeited the argument. (See Temple of 1001 Buddhas v. City of
Fremont (2024) 100 Cal.App.5th 456, 483; Cahill v. San Diego
Gas &amp; Electric Co. (2011) 194 Cal.App.4th 939, 956; Nakai, at p.
44, fn. 6.)

                                 3.

           Code of Civil Procedure section 1281.4

      Dreyer’s next asserts that the trial court’s denial of the stay
was erroneous in light of the stay provision of the California
Arbitration Act (§ 1280 et seq.). Here, Lara stipulated to a stay of
his individual claims, so the only question is whether the trial
court was required also to issue a stay of the non-individual
claims, which are not subject to arbitration. Dreyer’s central
contention is that because the question whether Lara is an
aggrieved employee is an issue common to both individual and
non-individual claims under the Private Attorneys General Act, a
stay of the non-individual claims is required under section
1281.4. We hold that in a Private Attorneys General Act case
involving both individual claims (which are arbitrable) and
nonindividual claims (which are not), section 1281.4 vests the
trial court with discretion to determine whether to stay the
nonindividual claims pending arbitration.

                                 a.

       Section 1281.4 provides that when a court “has ordered
arbitration of a controversy which is an issue involved in an
action or proceeding pending before a court of this State, the
court . . . shall . . . stay the action or proceeding until an
arbitration is had in accordance with the order to arbitrate or
until such earlier time as the court specifies.”

       Section 1280, subdivision (d), defines “ ‘[c]ontroversy’ ” as
“any question arising between parties to an agreement whether
the question is one of law or of fact or both.” When the issue
involves one “arising between [the] parties” to the arbitration
agreement (§ 1280, subd. (d)), a single overlapping question
warrants a stay. (Mattson Technology Inc. v. Applied Materials,
Inc. (2023) 96 Cal.App.5th 1149, 1161 (Mattson); Heritage
Provider Network, Inc. v. Superior Court (2008) 158 Cal.App.4th
1146, 1152-1153 (Heritage Provider Network).)

      If the circumstances specified in section 1281.4 are met, a
stay pending arbitration is mandatory. (See Gaines v. Fidelity
National Title Ins. Co. (2016) 62 Cal.4th 1081, 1096; Mattson,
supra, 96 Cal.App.5th at p. 1161.) When the action also involves
nonarbitrable issues, however, the court need not stay the entire
action. (§ 1281.4.) The final sentence of section 1281.4 vests trial
courts with discretion to stay all or only part of an action that
includes nonarbitrable issues: “If the issue which is the
controversy subject to arbitration is severable, the stay may be
with respect to that issue only.” (See also Adolph, supra, 14
Cal.5th at pp. 1124-1125; Cruz v. PacifiCare Health Systems Inc.
(2003) 30 Cal.4th 303, 320 (Cruz); Mattson, at p. 1161; Dial 800 v.
Fesbinder (2004) 118 Cal.App.4th 32, 55 (Dial 800); Cook v.
Superior Court (1966) 240 Cal.App.2d 880, 885 (Cook).) As the
use of the word “may” indicates, the issuance of a stay under the
final sentence in section 1281.4 is entrusted to the trial court’s
discretion. (See Cook, at p. 885; see also, e.g., Cruz, at p. 320;
Mattson, at p. 1161; Dial 800, at p. 55.) Should the party seeking
severance establish that the issues are severable, the court may,
in appropriate circumstances, allow the nonarbitrable issues to
proceed in court. (Adolph, at pp. 1124-1125; Mattson, at p. 1161.)

       Section 1281.4’s grant of discretion as to whether to stay
litigation of nonarbitrable issues reflects competing
considerations. A stay may be needed to protect the arbitrator’s
jurisdiction and reduce the risk of conflicting rulings on common
legal or factual questions. (See Mattson, supra, 96 Cal.App.5th at
p. 1161; Cronus, supra, 35 Cal.4th at p. 393.) Continuing the
litigation could potentially disrupt or undermine the arbitration.
(Cruz, supra, 30 Cal.4th at p. 320; Aronow v. Superior Court
(2022) 76 Cal.App.5th 865, 882.) At the same time, the grant of
discretion in section 1281.4 reflects a recognition that in cases
involving both arbitrable and nonarbitrable issues, unnecessary
prejudice may result if the entire case is brought to a “standstill
pending arbitration of issues that may be collateral.” (Cook,
supra, 240 Cal.App.2d at p. 885.) Particularly where, as here, the
claims in question seek to vindicate important public interests, a
blanket stay could have deleterious effects. Delaying litigation of
the non-individual claims under the Act could, for example,
needlessly permit an employer to continue unlawful employment
practices, or result in lost or stale evidence relevant to the
litigation but not the arbitration. Such results would undermine
the Act’s overall purpose of augmenting the state’s ability to
vigorously enforce the Labor Code and protecting employees from
violations of their workplace rights. (See Adolph, supra, 14
Cal.5th at pp. 1122-1123.)

       Thus, under section 1281.4, the trial court retains
discretion to decide whether to stay the nonarbitrable, non-
individual claims in a Private Attorneys General Act case.
Whether a stay is appropriate depends on the nature and extent
of any overlap between the nonarbitrable issues and the
arbitrable ones. (See, e.g., Dial 800, supra, 118 Cal.App.4th at p.
55; see also Mattson, supra, 96 Cal.App.5th at p. 1162.) A stay of
nonarbitrable claims pending arbitration is generally appropriate
if the overlap is such that continuation of the litigation would
disrupt the arbitration or render it ineffective. (See Cruz, supra,30 Cal.4th at p. 320; Sanchez v. Carmax Auto Superstores
California, LLC (2014) 224 Cal.App.4th 398, 407.)

       Contrary to Dreyer’s contention, nothing in Adolph
mandates a wholesale stay of non-individual claims under the
Act in every case. As Adolph suggests, to avoid relitigating
issues common to both individual and non-individual claims, the
trial court may exercise its discretion to stay the non-individual
claims pending arbitration of the individual claims. (Adolph,
supra, 14 Cal.5th at p. 1124.) Yet Adolph also confirms that
where an action includes both arbitrable, individual claims and
nonarbitrable, non-individual claims under the Act, the trial
court ultimately retains “discretion to stay the non-individual
claims pending the outcome of the arbitration pursuant to section
1281.4.” (Id. at p. 1123.) And Adolph explains that under section
1281.4, individual and non-individual claims comprise a single
action, “parts of which may be stayed pending completion of the
arbitration.” (Id. at pp. 1124-1125 (italics added).)

      Nor does Adolph support Dreyer’s contention that a
complete stay of the non-individual claims is necessarily required
to prevent relitigation of the arbitrator’s resolution of the
question whether Lara is an aggrieved employee, for purposes of
establishing his standing to bring the non-individual claims.
Adolph emphasized that standing under the Act is met at the
outset of a case based on allegations alone. (Adolph, supra, 14
Cal.5th at p. 1121.) An employee’s allegations that Labor Code
violations were committed against that employee are sufficient to
confer standing as an aggrieved employee to initiate such a suit.
(Ibid.; see, e.g., Seifu v. Lyft, Inc. (2023) 89 Cal.App.5th 1129,
1141.) The Act’s standing requirements are satisfied at the time
the complaint is filed and afterward, even when parts of an action
under the Act have been bifurcated into arbitral and judicial
forums. (Adolph, at p. 1128.)

       Under Adolph, given the existence of standing at the outset
of the case, the trial court need not re-examine Lara’s aggrieved
employee status for the non-individual claims to proceed; indeed,
under the trial court’s order and the parties’ stipulation to a stay
of the individual claims here, all questions pertaining to the
individual claims—including aggrieved employee status—will be
determined in arbitration. If the arbitrator determines that the
plaintiff is not an aggrieved employee and that decision is
confirmed in a final judgment, relitigation of the question is
improper. (See Adolph, supra, 14 Cal.5th at p. 1123.) In the
event of such an adverse award the plaintiff would lose standing
for purposes of the non-individual claims. But as Lara correctly
asserts, another employee could be substituted into the action to
continue the non-individual claims, given that ultimately such
claims belong to the state and not to any individual employee.
(See Hutcheson, supra, 74 Cal.App.5th at p. 941.)

      Because of the expansive nature of standing to bring non-
individual claims under the Act (Adolph, supra, 14 Cal.5th at p.
1122), in some cases the substance of the non-individual claims
may be independent of the individual claims personally suffered
by the plaintiff that are subject to arbitration. To prevail on the
merits of a nonindividual claim, after all, the plaintiff need only
establish that the employer violated the Labor Code as to other
workers. (See, e.g., Balderas v. Fresh Start Harvesting, Inc.
(2024) 101 Cal.App.5th 533, 537-538 (holding that a plaintiff who
did not assert individual claims nonetheless had standing to
bring non-individual claims under the Act.).) On the other hand,
where the plaintiff seeks to rely on allegations underpinning the
individual claims—to be decided by the arbitrator in accordance
with the parties’ agreement—to establish liability as to the non-
individual claims, a stay of the non-individual claims in their
entirety may well be in order. In such a case, the litigation may
pose a serious risk of disrupting the arbitration.

      The Supreme Court has also recognized in other contexts
that trial courts have the option of issuing partial stays as well as
complete stays of the proceedings in a case. (See Bruns v. E-
Commerce Exchange, Inc. (2011) 51 Cal.4th 717, 721, 724.) A
partial stay may freeze some part or phase of a case, such as
discovery, trial, or some other specific proceeding or phase. (Id.
at pp. 721, 724, 726.) The impact of a partial stay may “vary
from stay to stay and from case to case.” (Id. at p. 726.) Thus, for
example, a trial court may have the option of allowing discovery
on non-individual claims to go forward pending arbitration while
putting any trial on hold to prevent potential disruption of the
arbitration.

      In support of its argument that a stay is mandatory under
section 1281.4, Dreyer’s cites our decision in Mattson. There, we
recognized that when the arbitrable issue is severable, the trial
court has discretion to allow the nonarbitrable issues to go
forward in court pending arbitration. (Mattson, supra, 96
Cal.App.5th at p. 1161.) We then held that the trial court abused
that discretion in declining to stay litigation of nonarbitrable
claims where the plaintiff relied on the same factual allegations
to establish liability for both the arbitrable and the nonarbitrable
claims. (Id., at p. 1162.) As Mattson reflects, the extent and
nature of the overlap between nonarbitrable and arbitrable
claims is a critical consideration in determining whether a stay of
nonarbitrable claims is appropriate. Ultimately, Mattson
reinforces that the answer to that question will depend on the
specific circumstances of each case.

        Dreyer’s also relies on Franco v. Arakelian Enterprises,
Inc. (2015) 234 Cal.App.4th 947 (Franco), a pre-Adolph case
holding that because the non-individual claims under the Act
may overlap with the individual claims sent to arbitration, under
section 1281.4 the trial court “must order an appropriate stay of
trial court proceedings.” (Id. at p. 966.) But Franco never
questions the trial court’s discretion to determine the scope of the
stay. (See, e.g., Jarboe, supra, 53 Cal.App.5th at p. 556.) To the
contrary, Franco leaves the fashioning of an “appropriate” stay to
the trial court’s sound discretion. (Franco, at p. 966.) Similarly,
Heritage Provider Network held that the trial court abused its
discretion in declining to issue any stay at all pending
arbitration, but left it to the trial court’s discretion on remand to
determine whether the stay should be limited to the overlapping
issues under the final sentence in section 1281.4. (Heritage
Provider Network, supra, 158 Cal.App.4th at p. 1154 &amp; fn. 12.)

                                 b.

      Finally, Dreyer’s asserts that the trial court abused its
discretion under section 1281.4 in declining to stay the non-
individual claims pending arbitration. But the trial court did not
decline to issue a stay as an exercise of its discretion; the court
did not address section 1281.4 at all. This was understandable,
given that Dreyer’s stay motion only briefly cited that section in
support of the stay request, arguing that a stay was mandatory.
There is no indication as to whether the court was aware of its
discretion to grant a stay, in whole or in part, of the
nonarbitrable, non-individual claims under the final sentence of
section 1281.4. Further, the trial court did not have the benefit of
our Supreme Court’s guidance in Adolph. Under these
circumstances, we remand the case to give the trial court an
opportunity to exercise its discretion under section 1281.4 in the
first instance. (Cf. Barrera, supra, 95 Cal.App.5th at p. 95
(remanding where the trial court did not have the opportunity to
rule on the propriety of a stay pending arbitration based on the
reasons raised by the defendants on appeal.).)

                                  DISPOSITION

       The purported appeal is dismissed. Treating the appeal as
a petition for extraordinary writ, the petition is granted. The
order denying a stay is vacated and the case is remanded with
instructions for the trial court to exercise its discretion whether
to stay in whole or in part the non-individual claims pursuant to
the final sentence of Code of Civil Procedure section 1281.4. Each
party shall bear its own costs on appeal. (Cal. Rules of Court,
rule 8.278(a).)



                                                           BURNS, J.
WE CONCUR:


JACKSON, P. J.
SIMONS, J.

Lara v. Dreyer’s Grand Ice Cream, Inc., et al. (A167881)
